

Fornino v New York Cent. Mut. Fire Ins. Co. (2023 NY Slip Op 04006)





Fornino v New York Cent. Mut. Fire Ins. Co.


2023 NY Slip Op 04006


Decided on July 28, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 28, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, BANNISTER, MONTOUR, AND GREENWOOD, JJ.


317 CA 22-00899

[*1]MICHAEL FORNINO, PLAINTIFF-APPELLANT,
vNEW YORK CENTRAL MUTUAL FIRE INSURANCE COMPANY, ET AL., DEFENDANTS, AND W.B. PAYNE COMPANY, INC., DEFENDANT-RESPONDENT. (APPEAL NO. 3.) 






SAUNDERS KAHLER, L.L.P., UTICA (MICHAEL D. CALLAN OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
SMITH, SOVIK, KENDRICK &amp; SUGNET, P.C., SYRACUSE (ALAN J. BEDENKO OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Oneida County (David A. Murad, J.), entered May 3, 2022. The order, among other things, granted the cross-motion of defendant W.B. Payne Company, Inc. for summary judgment dismissing plaintiff's amended complaint and all cross-claims against it. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Fornino v New York Cent. Mut. Fire Ins. Co. ([appeal No. 2] — AD3d — [July 28, 2023] [4th Dept 2023]).
Entered: July 28, 2023
Ann Dillon Flynn
Clerk of the Court








